Case 1:14-cv-23933-PCH Document 173 Entered on FLSD Docket 11/07/2018 Page 1 of 5



                                    United States District Court
                                    Southern District of Florida
                                Case No. 14-23933-Civ-Huck/McAliley

        John Doe #4, et al.,

             Plaintiffs,

        v.

        Miami-Dade County,

             Defendants.


                           Miami-Dade County’s Notice of Filing Trial Exhibits

     Pursuant to Local Rule 5.3(b)(2), Defendant Miami-Dade County files the following exhibits that
  were admitted into evidence at trial:

    Ex.      Description                                                                Dkt Entry
     A       Miami-Dade Police Department-Miami Herald Insert (Aug. 2006) Re: Doe       DE 173-1
             #5 [1 page]
    B        MDPD Offense Incident Report PD061031561803 Re: Doe #5 [3 pages]           DE 173-2
    C        (Withdrawn)                                                                 N/A
    D        FDLE Sex Predator/Offender Registration Form (Jan. 22, 2006) Re: Doe       DE 173-3
             #6 [4 pages]
    E        Composite of FDLE Printout Information Re: Doe #6 [3 pages]                DE 173-4
    F        Deposition of John Doe #6 with Exhibits                                    DE 173-5
    G        FDOC Affidavit Violation of Probation (Oct. 19, 2004) Re: Doe #5 [1        DE 173-6
             page]
    H        FDOC Violation Report (Oct. 19, 2004) Re: Doe #5 [2 pages]                 DE 173-7
    I        Probation Warrant (Oct. 28, 2004) Re: Doe #5 [2 pages]                     DE 173-8
    J        FDOC Amended Affidavit Violation of Probation (Dec. 1, 2004) Re: Doe       DE 173-9
             #5 [2 pages]
    K        FDOC Amended Violation Report (Dec. 1, 2004) Re: Doe #5 [3 pages]          DE 173-10
    L        FDOC Second Amended Affidavit Violation of Probation (Dec. 7, 2006)        DE 173-11
             Re: Doe #5 [1 page]
    M        FDOC Second Amended Violation Report (Dec. 7, 2006) Re: Doe #5 [3          DE 173-12
             pages]
    N        (Omitted)                                                                    N/A
    O        Judgment and Sentence in Case No. F06-036668 (Composite) Re: Doe #5        DE 173-13
             [6 pages]
Case 1:14-cv-23933-PCH Document 173 Entered on FLSD Docket 11/07/2018 Page 2 of 5



     P    Composite of Handwritten Arithmetic and Chart of Housing Re: Socia           DE 173-14
          Cross Examination [2 pgs]
    Q     Listing of DOR Codes [6 pages]                                               DE 173-15
    R     Miami Herald, "Miami Named Worst City for Renters in the U.S." (Sept. 25,    DE 173-16
          2018) [5 pgs]
     S    Socia, The Efficacy of County-Level Sex Offender Residence Restrictions in   DE 173-17
          New York (2012)
     T    DSM-5 Excerpt                                                                DE 173-18
     U    Walker, "The Geographic Link Between Sex Offenders and Potential             DE 173-19
          Victims" (2001)
    V     List shown to Robert Berman                                                  DE 173-20
    W     Email from A. Martinez to V. Mallette (March 8, 2018) [2 pgs]                DE 173-21
    X     Declaration of R. Karl Hanson, Case No. 12-05713-TEH (N.D. Ca. Nov. 7,       DE 173-22
          2012)
     Y    Excerpt from Hanson, Recidivism and Age (2002) - p. 1047                     DE 173-23
     Z    (Omitted)                                                                      N/A
    AA    Expert Report of Dr. Richard McCleary                                        DE 123-11
    BB    Declaration of Joshua Brashears                                              DE 123-24
    CC    Miami-Dade County Ordinance No. 05-206                                       DE 123-01
    DD    Miami-Dade County Ordinance No. 10-01                                        DE 123-23
    EE    Transcript of June 21, 2005 Meeting of Miami-Dade County Board of            DE 173-24
          County Commissioners
    FF    Transcript of Aug. 17, 2005 Meeting of Miami-Dade County COSHAC              DE 173-25
          Committee
    GG    Transcript of Nov. 15, 2005 Meeting of Miami-Dade County Board of            DE 173-26
          County Commissioners
    HH    Transcript of Dec. 10, 2009 Meeting of Health, Public Safety &               DE 173-27
          Intergovernmental Committee
     II   Transcript of Jan. 21, 2010 Meeting of Miami-Dade County Board of            DE 173-28
          County Commissioners
     JJ   Miami-Dade County Public Schools, Transportation Handbook for School         DE 123-17
          Staff (2015)
    KK    Miami-Dade County Resolution No. R-13-17                                     DE 123-18
    LL    Miami-Dade TPO, 2017 Safe Routes to School Infrastructure Plans              DE 123-19
    MM    Miami-Dade TPO, Safe Routes to School 2014 Infrastructure Plans              DE 123-20
    NN    Miami-Dade TPO, Safe Routes to School Infrastructure Plans 2015              DE 123-21
    OO    Miami-Dade Police Sexual Crimes Bureau, Report (Aug 26, 2008)                DE 123-22
    PP    U.S. Census Bureau, General Housing Characteristics: 2010 – Miami-Dade       DE 123-25
          County
    QQ    Greenfield, Sex Offenses and Offenders: An Analysis of Data on Rape and      DE 123-02
          Sexual Assault (1997)
    RR    Snyder, Sexual Assault of Young Children as Reported to Law Enforcement      DE 123-03
          (2000)
    SS    Morgan, Criminal Victimization, 2016 (2017)                                  DE 123-04
    TT    Kilpatrick et al., Youth Victimization: Prevalence and Implications (2003)   DE 123-06
    UU    Abel, Self-Reported Sex Crimes of Nonincarcerated Paraphiliacs (1987)        DE 123-07
Case 1:14-cv-23933-PCH Document 173 Entered on FLSD Docket 11/07/2018 Page 3 of 5



   VV  Beck, Recidivism of Prisoners Released in 1983 (1990)                           DE 123-08
   WW  Prentky, Recidivism Rates Among Child Molesters and Rapists: A                  DE 123-09
       Methodological Analysis (1997)
   XX Prentky, Child Sexual Molestation: Research Issues (1997)                        DE 123-10
    YY Bynum et al., Recidivism of Sex Offenders (2001)                                DE 123-12
    ZZ Langevin et al., Lifetime Sex Offender Recidivism: A 25-Year Follow-Up          DE 123-13
       Study (2004)
   AAA Page et al., North Carolina Sexual Offender Legislation: Policy Placebo?        DE 123-15
       (2012)


  Dated: November 7, 2018                            Respectfully submitted,

                                                     ABIGAIL PRICE-WILLIAMS
                                                     Miami Dade County Attorney
                                                     Stephen P. Clark Center 
                                                     111 N.W. 1st Street, Suite 2810
                                                     Miami, Florida 33128

                                                     By: /s/ Michael B. Valdes
                                                     Michael B. Valdes
                                                     Assistant County Attorney
                                                     Florida Bar No. 93129
                                                     Phone: (305) 375-5151
                                                     Fax: (305) 375-5634
                                                     E-Mail: mbv@miamidade.gov
Case 1:14-cv-23933-PCH Document 173 Entered on FLSD Docket 11/07/2018 Page 4 of 5



                                       Certificate of Service
      I hereby certify that a true and correct copy of the foregoing was served on November 7, 2018

  on all counsel or parties of record in the manner indicated on the Service List below.


                                                   /s/ Michael B. Valdes
                                                   Assistant County Attorney

                                              Service List
   Counsel for Plaintiffs                            Counsel for Miami-Dade County
   Daniel B. Tilley and Nancy Abudu
   ACLUE Foundation of Florida                        Michael B. Valdes and Oren Rosenthal
   4500 Biscayne Boulevard, Suite 340                 Assistant County Attorney
   Miami, FL 33137                                    Miami-Dade County Attorney’s Office
   Telephone: (786) 363-2714                          111 N.W. 1st Street, Suite 2810
   Fax: (786) 363-1257                                Miami, Florida 33128
   E-mail: dtilley@aclufl.org; nabudu@aclufl.org      Telephone: (305) 375-5151
                                                      Fax: (305) 375-5634
   Brandon J. Buskey and Ezekiel Edwards              Email: mbv@miamidade.gov;
   American Civil Liberties Union Foundation          orosent@miamidade.gov
   Criminal Law Reform Project
   125 Broad Street, 18th Floor                       No service necessary
   New York, NY 10004
   Telephone: (212) 284-7364
   Fax: (212) 549-2654
   E-mail: bbuskey@aclu.org; eedwards@aclu.org

   Jeffrey M. Hearne and Daniel R. Quintian
   Legal Services of Greater Miami, Inc.
   4343 W. Flagler Street, Suite 100
   Miami, Florida 33134
   Telephone: (305) 576-0080
   Fax: (305) 573-5800
   Email: jhearne@legalservicesmiami.org;
   drowinsky@legalservicesmiami.org

   Valerie Jonas
   Weitzner & Jonas, P.A.
   1444 Biscayne Blvd., Suite 207
   Miami, FL 33132
   E-mail: valeriejonas77@gmail.com

   Electronic Service
Case 1:14-cv-23933-PCH Document 173 Entered on FLSD Docket 11/07/2018 Page 5 of 5



                                  United States District Court
                                  Southern District of Florida
                              Case No. 14-23933-Civ-Huck/McAliley

       John Doe #4, et al.,

            Plaintiffs,

       v.

       Miami-Dade County,

            Defendants.


                          Certificate of Compliance Re: Admitted Evidence

  I, Michael B. Valdes, as counsel for the defendant, Miami-Dade County, hereby certify the following:

  Check the applicable sections:

   X ALL EXHIBITS E-FILED: All documentary exhibits and photographs of non-documentary
  physical exhibits offered or introduced into evidence have been electronically filed in CM/ECF.

      EXHIBITS NOT E-FILED: The following is an itemized list of exhibits that are exempt from
  mandatory electronic filing pursuant to Local Rule 5.3(b)(3):
  ______________________________________________________________________________
  _______

  ______________________________________________________________________________
  _______

  Any original exhibits that have been returned to or retained by the filing party after electronic filing
  shall be kept for safe keeping until the conclusion of any appeals. Upon order of court, the filing party
  agrees to return the original exhibits to the Clerk of Court.

  This Certificate shall be filed within ten (10) days of the conclusion of a hearing or trial. Failure to
  timely comply with the requirements of Local Rule 5.3(b) may result in the imposition of sanctions.

  Signature:       _/s/ Michael B. Valdes_____________________           Date:    _11/7/2018________
